Case 1:04-cv-01267-.]DT-tmp Document 27 Filed 06/09/05 Page 1 of 4 Page|D 32

HUHBEY _
IN THE UNITED sTATES DISTRICT coURT "“` '*Q
FoR THE wEsTERN DISTRICT oF TENNESSEE USJUN_S p
EASTERN DIVISION ky?`h?

 

ROGER D. RILEY,
PLAINTIFF,

VS.

wAL-MART sToRE #335, wAL-MART
ASSOCIATES, INC., WAL-MART
STORES, INC., WAL-MART STORES
EAST, INC., A&M CLEANING
PRODUCTS, INC., BIO-LAB, INC.
Individually and as Owner of
A&M CLEANING PRODUCTS, INC.
BIO-LAB, INC., as a wholly-

f

f

Owned subsidiary of GREAT LAKES
CHEMICAL CORPORATION, GREAT LAKES

CHEMICAL CORPORATION, Individually
AUTOMATED PACKAGING SYSTEMS, INC

AUTOMATED PACKAGING sYsTEMs
soUTHEAsT, LLc, cKs PACKAGING,
INc., and PACKAGE sUPPLY &
EQUIPMENT co., INc.,

DEFENDANTS.

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***X-*N-**X-**X-*****H-***>{-X-$

NO.

 

1-04~1267-T-P

 

_UNOPPOBEU ORDER GRANTING EXTENSION OF TIME TO
AUTOMATED PACKAGING SYSTEMS,
RESPONSE TO AMENDED COMPLAINT

INC. FOR

 

THIS CAUSE came on to be heard upon the written motion of

Automated Packaging Systems,
2005 through June 24, 2005,

Complaint_

for an extension from June 6,

to file a response to the Amended

It appearing to the Court that Plaintiff's counsel does not

oppose the motion and that the motion should be granted;

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IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that
Defendant Automated Packaging Systems, Inc. be, and is hereby,

granted an extension through June 24, 2005, to file a response

to the Amended Complaint.

 

U.S. DTSTRTCT“€OURT JUDGE
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DATE: 'J"uN. al 1 Q'FDV

         

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UNITED

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 1:04-CV-01267 Was distributed by faX, mail, or direct printing on
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Honorable .1 ames Todd
US DISTRICT COURT

